Transferred case has been opened                                                                 Page 1 of 1
             Case 3:19-cv-00388-SDD-RLB                Document 8        07/18/19 Page 1 of 1



       Reply all |       Delete     Junk |


   Transferred case has been opened

             ohndecf@ohnd.uscourts.gov                                                          Reply all |
      O      Today, 12:57 PM
             LAMDml_InterdistrictTransfer




   CASE: 3:19-cv-00388

   DETAILS: Case transferred from Louisiana Middle
   has been opened in Northern District of Ohio
   as case 1:19-op-45627, filed 07/18/2019.


     Getting too much email from ohndecf@ohnd.uscourts.gov? You can unsubscribe




https://outlook.office365.com/owa/webequip@lamd.uscourts.gov/?ItemID=AAMkADhhY... 7/18/2019
